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UNITED sTATEs oF AMERICA Q£R§' m d h 13wa
W@ C'F ll ., MEMPHIS
-vs- Case No. 2:03cr20305-Ma
DAMIEN HUGHES

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

h
DONE and ORDERED in 167 North Main, Memphis, this g iv day of July, 2005.

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DIANE K. vsscovo
UNITED sTATEs MAGISTRATE moon

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

DAMIEN HUGHES

entered on the docket sheet in compliance

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:03-CR-20305 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

